Case 1:00-cr-00504-CMA Document 198 Filed 03/14/18 USDC Colorado Page 1 of 12




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                              Judge Christine M. Arguello

Criminal Case No. 00-cr-00504-CMA

UNITED STATES OF AMERICA,

        Plaintiff,

v.

MICHAEL DAVID WILHITE,

        Defendant.


     ORDER GRANTING THE GOVERNMENT’S MOTION FOR ENTRY OF DECREE OF
             SALE AND TO APPOINT A RECEIVER TO ENFORCE LIEN


        This matter is before the Court on the Government’s Motion for Entry of Decree of

Sale and to Appoint a Receiver to Enforce Lien, wherein the Government argues that

Advanced Floor Concepts (AFC) should be sold pursuant to 28 U.S.C. § 7403(c) to

satisfy Defendant Michael Wilhite’s long-outstanding restitution obligations. (Doc. # 168.)

Mr. Wilhite and his wife Darla Wilhite (the Wilhites, collectively) challenge the motion

(Doc. # 177), and for the following reasons, the Court grants it.

                                  I.     BACKGROUND

        Mr. Wilhite owes the Government at least $1,714,708.79 in restitution. In 2015, the

Government filed an Application for Writ of Execution upon “the personal property of [Mr.

Wilhite], which his wife, Darla Wilhite . . . , holds as a nominee.” (Doc. # 30.) The Clerk

issued the Writ of Execution to the United States Marshal, commanding, as pertinent

here, the sale of Mr. Wilhite’s interest in AFC. (Doc. # 31.) Mrs. Wilhite filed a motion to

quash the Writ, reasoning that Mr. Wilhite has no ownership interest in AFC because it is


                                              1
Case 1:00-cr-00504-CMA Document 198 Filed 03/14/18 USDC Colorado Page 2 of 12




solely owned and operated by Mrs. Wilhite. (Doc. # 36 at ¶ 5.) In 2016, the Court denied

the motion to quash and determined that Mr. Wilhite does, indeed, have an equitable

interest in AFC. (Doc. ## 121, 159.) On October 13, 2017, this Court specifically

concluded that Mr. Wilhite has a 73.9% interest in AFC and Mrs. Wilhite has a 26.1%

interest. (Ownership Order) (Doc. # 159.) The Court also concluded that Mr. Wilhite’s

73.9% interest constitutes property under the federal tax lien statute and the Federal Debt

Collection Procedures Act (FDCPA) and that such 73.9% interest may be subject to levy

or collection by the Government to satisfy Mr. Wilhite’s substantial and long-outstanding

restitution obligations. (Id.)

       In the instant motion, the Government, seeking to levy on that 73.9% interest,

argues that a forced sale of AFC is the most appropriate mechanism for doing so. (Doc.

# 168 at 1.) The Government also requests that a receiver be appointed to manage the

sale. (Doc. # 168 at 1.)

       The Wilhites object to the sale of AFC, arguing primarily that the Government only

has the right to seize Mr. Wilhite’s individual interest in AFC, not to sell the entire

company. For the same reasons, the Wilhites also contend that there is no justification or

authority for appointing a receiver in this case. (Id. at 11–15.)

                                    II.     SALE OF AFC

       Mr. Wilhite’s restitution obligation was imposed under the Mandatory Victim’s

Restitution Act (MVRA) and created a lien in favor of the Government. 18 U.S.C.

3613(a). The Government’s action to enforce its lien in this case is therefore “in every

real sense a proceeding in court to collect a tax.” United States v. Holmes, 727 F.3d

1230, 1235 (10th Cir. 2013).



                                               2
Case 1:00-cr-00504-CMA Document 198 Filed 03/14/18 USDC Colorado Page 3 of 12




       The reach of a federal tax lien is broad. It provides:

               If any person liable to pay any tax neglects or refuses to pay the
               same after demand, the amount (including any interest, additional
               amount, addition to tax, or assessable penalty, together with any
               costs that may accrue in addition thereto) shall be a lien in favor of
               the United States upon all property and rights to property, whether
               real or personal1, belonging to such person.

26 U.S.C. § 6321 (emphasis added.) Congress intended the lien “to reach every interest

in property that a taxpayer may have.” United States v. National Bank of Commerce, 472

U.S. 713, 719–20 (1985). “Stronger language could hardly have been selected to reveal

a purpose to assure the collection of taxes.” U.S. v. Craft, 535 U.S. 274 (2002).

       Although broad, a federal tax lien may only reach a debtor’s “property or rights to

property” to the extent that state law recognizes the subject interest as property. Id. at

722. In other words, the government “steps into the shoes of the [debtor] and acquires

whatever rights to the property the [debtor] possessed” under state law. Kane v. Captical

Guardian Trust Co, 145 F.3d 1218, 1221 (10th Cir. 1998.) In looking to state law, courts

consider “the substance of the rights state law provides, not merely the labels the State

gives these rights or the conclusions it draws from them.” Craft, 535 U.S. at 279.

       This Court has already concluded that Mr. Wilhite has a 73.9% ownership 2 interest

in AFC under Colorado state law, and that this 73.9% interest constitutes property or

1
  The Wilhites make much of the fact that the property at issue in this case is not real property.
That argument lacks merit in light of this plain language permitting broad lien attachment.
2
  The Wilhites argue that Mr. WIlhite merely has a membership interest, not an ownership interest
in AFC. The Court finds this to be a distinction without a difference. Indeed, a “member” of an
LLC is statutorily defined as a person “with an ownership interest” in the LLC. Colo. Rev. Stat. §
7-80-102(9); see also Condo v. Conners, 271 P.3d 524, 526 (Colo. App. 2010), as modified on
denial of reh’g (Sept. 16, 2010), aff’d, 266 P.3d 1110 (Colo. 2011) (“A member of a limited liability
company is a person who has an ownership interest in it.”). Moreover, as the majority interest
holder, Mr. Wilhite’s interest entitled him to “manage the Company’s business,” including a right to
dissolve the company. And, as this Court has set forth in numerous prior orders, Mr. Wilhite
played a clear managerial and ownership role in AFC, operating as CEO of the company since its
inception, among other things.

                                                 3
Case 1:00-cr-00504-CMA Document 198 Filed 03/14/18 USDC Colorado Page 4 of 12




rights to property under the federal tax lien statute. (Doc. # 159 at 16.) See Craft, 535

U.S. at 286 (The federal tax lien attaches to “an individual partner’s interest in the

partnership, that is, to the fair market value of his or her share in the partnership assets.”);

LaFond v. Sweeney, 345 P.3d 932, 939 (Colo. App. 2012); aff'd, 343 P.3d 939 (Colo.

2015) (partnership law principles provide guidance when examining LLCs because they

share many important characteristics and the language of the acts are similar).

       As a holder of this lien, the Government, stepping into Mr. Wilhite’s shoes, is

entitled to, at a minimum, a “share of the profits and losses,” the “right to receive

distributions” of AFC’s assets, including any proceeds from dissolution, and many other

rights set forth in AFC’s Operating Agreement. Colo. Rev. Stat. §§ 7-80-102 (9–10); 7-

80-108(1)(a); see United States v. Triangle Oil, 277 F.3d 1251, 1255 (10th Cir. 2002) (a

partner’s interest generally consists of the “right to a proportionate share of the

distribution of partnership profits or surplus after the payment of partnership debts”).

       Having determined state-created property interests to which the Government’s tax

lien attaches, the Court looks to federal law to determine what consequences attach to

those interests. 3 Here, the Government is seeking to use its foreclosure power to enforce


3
  The Wilhites highlight various Colorado cases and statutes addressing the power of creditors
under state law. Those cases and statutes are inapplicable here because it is well-settled that
enforcement of a federal tax lien is not subject to state law enforcement requirements. See
United States v. Rodgers, 461 U.S. 677, 684 (1983) (“[T]he consequences that attach to [state]
interests is a matter left to federal law.”); United States v. Mitchell, 403 U.S. 190, 205 (1971) (state
law determines income attributable to wife as community property, but state law allowing wife to
renounce community rights and obligations not effective as to liability for federal tax); United
States v. Union Central Life Insurance Co., 368 U.S. 291, 293–295 (1961) (federal tax lien not
subject, even as against good faith purchaser, to state filing requirements); Aquilino v. United
States, 363 U.S. 509, 513–515 (1960), and cases cited (attachment of federal lien depends on
whether “property” or “rights to property” exist under state law; priority of federal lien depends on
federal law); United States v. Bess, 357 U.S. 51, 56–57 (1958) (once it has been determined that
state law has created property interests sufficient for federal tax lien to attach, state law “is
inoperative to prevent the attachment” of such liens); Springer v. United States, 102 U.S. 586
(1881) (federal tax sale not subject to state requirement that independent lots be sold separately).

                                                   4
Case 1:00-cr-00504-CMA Document 198 Filed 03/14/18 USDC Colorado Page 5 of 12




collection of its lien. 4 Specifically, the Government seeks to foreclose on Mr. Wilhite’s

73.9% ownership interest in AFC and force a sale of AFC pursuant to 26 U.S.C. § 7403,

which provides:

               The court shall, after the parties have been duly notified of the
               action, proceed to adjudicate all matters involved therein and finally
               determine the merits of all claims to and liens upon the property,
               and, in all cases where a claim or interest of the United States
               therein is established, may decree a sale of such property, by the
               proper officer of the court, and a distribution of the proceeds of
               such sale according to the findings of the court in respect to the
               interests of the parties and of the United States.

       Having thoroughly reviewed the law applicable to foreclosure suits, the Court finds

that the Government is entitled to foreclose on Mr. Wilhite’s 73.9% ownership interest in

AFC under § 7403. Craft, 535 U.S. at 286 (“The Federal Government may not compel

the sale of partnership assets (although it may foreclose on the partner’s interest, 1

Bromberg & Ribstein § 3.05(d)(3)(iv)).”). Unlike administrative levy actions, a judicial

foreclosure suit under § 7403 is a plenary action in which the court “adjudicate[s] all

matters involved” and “finally determine[s] the merits of all claims to and liens upon the

property.” See Triangle Oil, 277 F.3d at 1255 (the government’s administrative “levy

power” does not “transfer ownership of the property” to the government, unless the

government institutes “a foreclosure or similar action.”) In adjudicating a foreclosure suit,

the Court, sitting in equity, may broadly decree the sale of property and order the


4
  The Wilhites cite numerous cases discussing the administrative levy power of the IRS and
concluding that the IRS’s power is limited, i.e. the IRS may only compel the sale of the
partnership’s interest but may not touch the assets of other partners or of the partnership
generally. Although this may be true for administrative levy actions, the Wilhites have not
presented this Court with any cases, and the Court has found none, stating that the IRS may not
foreclose on those assets under § 7403. Indeed, the government’s foreclosure power is
significantly broader than its administrative levy power. In any event, the Court need not resolve
this issue now because the Government concedes that it is not attempting to compel the sale of
AFC’s assets, but merely the sale of the Wilhites’ membership interests in AFC.

                                                 5
Case 1:00-cr-00504-CMA Document 198 Filed 03/14/18 USDC Colorado Page 6 of 12




distribution of proceeds—just as the Government requests that the Court do in this case.

See United States v. Schmidt, 206 F. Supp. 806, 810 (E.D. Mo. 1962) (concluding that

the government had a valid lien on a debtor’s 258 shares of stock in a company that could

be foreclosed and sold under § 7403); United States v. Rodgers, 461 U.S. 677, 696

(1983) (comparing the government’s limited administrative levy power under § 6321 to its

broad foreclosure power under § 7403).

       The issue then becomes whether the Government, foreclosing on Mr. Wilhite’s

73.9 % interest in AFC, may force a sale of the entire company. In Rodgers, the

Supreme Court made clear that § 7403(c), “contemplate[s], not merely the sale of the

[debtor’s] own interest, but the sale of the entire property (as long as the United States

has any “claim or interest” in it).” 461 U.S. at 693–94. The Rodgers Court distinguished

between government actions to collect taxes under § 6321, which cannot extend beyond

the debtor’s property interests and government foreclosure actions under § 7403, which

can. Id. at 690–91 (approving of Mansfield v. Excelsior Refining Co., 135 U.S. 326, 339–

341 (1890), where the Court upheld the foreclosure of an easement held by a delinquent

taxpayer against the underlying landholder’s interest, but allowing only the sale of the

debtor’s leasehold interest rather than the entire fee because (1) it was owned by the

landholder and (2) the sale was by administrative levy; the Court also concluded,

however, that the government could seek a judicial sale of the entire property under the

predecessor of § 7403.)). The Rodgers Court also highlighted the expansive language of

§ 7403, particularly the section allowing the government to “enforce [its] lien” and seek to

“subject any property; [of] whatever nature, of the delinquent, or in which he has any right,

title, or interest, to the payment of such tax or liability.” Id. at 692. The Court added, “We



                                              6
Case 1:00-cr-00504-CMA Document 198 Filed 03/14/18 USDC Colorado Page 7 of 12




can think of virtually no circumstances . . . in which it would be permissible to refuse to

authorize a sale simply to protect the interests of the [debtor]. . . . And even when the

interests of third parties are involved, we think that a certain fairly limited set of

considerations will almost always be paramount.” Id. at 709–10. Those considerations

are:

              (1) the extent to which the government’s financial interest
              would be prejudiced if it was limited to the sale of only the
              partial interest actually subject to the delinquent taxes; (2)
              whether the third party has a “legally recognized expectation”
              that his interest would not be subject to a forced sale by the
              delinquent taxpayer or his creditors; (3) the possibility that the
              third party will be prejudiced by undercompensation for his
              interest or by personal dislocation costs; and (4) the relative
              character and value of the respective possessory and fee
              interests in the property.

Hopkins, 859 F.Supp. at 212 (citing Rodgers, 461 U.S. at 710–11). The Rodgers Court

further emphasized that “the limited discretion accorded by § 7403 should be exercised

rigorously and sparingly, keeping in mind the [g]overnment’s paramount interest in prompt

and certain collection of delinquent taxes.” Rodgers, 461 at 711; See United States v.

Winsper, 680 F.3d 482, 489 (6th Cir. 2012) (“[T]he Rodgers factors . . . address the scope

of . . . the district court’s discretion not to foreclose” and are only required if the sale would

cause undue hardship to an innocent third-party).

       Pursuant to the reasoning in Rodgers and its progeny, the Court concludes that the

Government may indeed seek a decree of sale for AFC in its entirety, rather than only Mr.

Wilhite’s ownership interest. Because Mrs. Wilhite also has an interest in the company,

the Court turns to the Rodgers balancing test ensure that a sale is appropriate in these

circumstances.




                                                7
Case 1:00-cr-00504-CMA Document 198 Filed 03/14/18 USDC Colorado Page 8 of 12




       First, the Court finds that the Government’s financial interest would be prejudiced if

sale of the entire company was denied and the Government was limited to selling only Mr.

Wilhite’s interest. Potential purchasers of the company would not be likely to buy, or at

least to pay fair market value for, the majority interest in a company where a minority

interest member—who is the wife of the majority interest owner and who, on paper,

appears very involved in the company—would continue to participate. Having to sell Mr.

Wilhite’s individual interest at a discounted price, or not being able to sell it at all, would

mitigate the Government’s recovery of Mr. Wilhite’s significant unpaid restitution. This

factor therefore weighs in favor of a forced sale.

       Second, the Court finds that the Government has shown that Mrs. Wilhite has not

and cannot show any legal expectation that the subject property would be protected from

a forced sale. The restitution order creating a lien on all property Mr. Wilhite owns or in

which he has an interest was entered in 2001, and the Government publicly recorded its

lien that same year. Mrs. Wilhite has therefore been aware of her husband’s lien since at

least that date. She has also been substantially involved in the present litigation, where,

as mentioned, the Government has openly pursued enforcement of its lien on Mr.

Wilhite’s interest in AFC since at least 2015. Indeed, as this Court set forth in its order

denying Mrs. Wilhite’s Motion to Quash, she and Mr. Wilhite were well-aware of Mr.

Wilhite’s prior significant tax debt to the IRS when they started AFC and their conduct

related to AFC was done with the intent to hide Mr. Wilhite’s assets and defraud the

Government. Considering Mr. Wilhite’s active involvement in AFC, the Wilhites’ joint

efforts to hide his involvement, and the established law in Colorado that “the district court

generally has the discretion to foreclose the lien on the entire property, on only the



                                                8
Case 1:00-cr-00504-CMA Document 198 Filed 03/14/18 USDC Colorado Page 9 of 12




taxpayer’s interest, or not at all,” United States v. Morgan, 554 F. Supp. 582, 587–88 (D.

Colo. 1982), Mrs. Wilhite can hardly claim surprise about a sale. This factor weighs

heavily in favor of a sale.

       Third, the Court acknowledges that Mrs. Wilhite may suffer some prejudice but still

finds that the third factor weighs in favor of a sale. See Rodgers, 461 U.S. at 711. Mrs.

Wilhite has invested time and energy into AFC and a sale may affect or halt her monthly

income. However, under the specific circumstances of this case, those setbacks do not

outweigh the Government’s right to force the sale and recover what it can of Mr. Wilhite’s

significant outstanding restitution obligation. Following the sale, Mrs. Wilhite will be

compensated in proportion to her interest in AFC (26.1%), or in the alternative, Mrs.

Wilhite may bid at the foreclosure sale to protect her interest and avoid foreclosure. With

these protections in place, the prejudice to Mrs. Wilhite is minimal.

       Finally, for the reasons previously articulated, Mrs. Wilhite’s minority interest in

AFC favors a forced sale. As this Court articulated in previous orders, Mrs. Wilhite, while

declaring significant involvement in AFC, served merely as a “nominee” for Mr. Wilhite,

the evident owner and operator of the company since its inception. See Rocky Mountain

Gold Mines v. Gold, Silver, & Tungsten, 93 P.2d 973, 982 (Colo. 1939) (the court’s goal is

to determine “the real intention of the parties and the true nature of the transaction . . . no

matter how many papers may have been executed to cover up the real purpose and give

to the transaction an appearance other than the true one.”).

       Accordingly, having considered the totality of circumstances in this case and the

applicable law, the Court concludes that a forced sale of AFC is warranted.




                                               9
Case 1:00-cr-00504-CMA Document 198 Filed 03/14/18 USDC Colorado Page 10 of 12




                                     III.   LIEN PRIORITY

        In addition to the Government’s lien flowing from Mr. Wilhite’s criminal restitution

 obligation, Kubota Credit Corporation also has an outstanding lien on equipment owned

 by AFC. (Doc. # 182-1.) The Government argues that its lien is superior to Kubota’s lien

 because it was perfected earlier in time. The Wilhites, however, contend that Kubota’s

 lien is superior because, under Colorado law, if AFC is sold, the proceeds must be used

 to pay all AFC’s debts before any proceeds are distributed to AFC’s members.

        The Wilhites’ argument is misplaced. Federal law, not state law, determines the

 priority of competing liens asserted against Mr. Wilhite’s property or rights to property.

 United States v. Vorreiter, 355 U.S. 15. Indeed, “It is beyond dispute that the ‘effect of a

 lien in relation to a provision of federal law for the collection of debts owing the United

 States is always a federal question.” United States v. Security Trust & Savings Bank, 340

 U.S. 47, 49 (1950). “The application of . . . federal law in reconciling the claims of

 competing lienors is based both upon logic and sound legal principles.” Aquilino v. United

 States, 363 U.S. 509, 513–14 (1960). It promotes “the necessity for a uniform

 administration of the federal revenue statutes.” Id. In accordance with 26 U.S.C. § 6323,

 where a “third party also claims interest in taxpayer's property, basic priority rule of first in

 time, first in right controls priority of tax lien versus third-party claim, unless Congress has

 created different priority rule to govern particular situation.”

        Because the Government’s restitution lien was “first in time,” it shall be satisfied

 before Kubota’s equipment lien. 5



 5
  The Court also rejects the Wilhites’ contention that ANB Bank maintains a lien on AFC that pre-
 dates the Government’s restitution lien and that ANB should have been notified of this action.
 Mrs. Wilhite renegotiated the terms of her ANB loans into one large personal loan, which now

                                                10
Case 1:00-cr-00504-CMA Document 198 Filed 03/14/18 USDC Colorado Page 11 of 12




                           IV.    APPOINTMENT OF A RECIEVER

        Federal courts have an inherent equitable power to appoint a receiver to manage a

 defendant’s assets during the pendency of litigation. See, e.g., Tanzer v. Huffines, 408

 F.2d 42, 43 (3rd Cir. 1969); Levin v. Garfinkle, 514 F.Supp. 1160, 1163 (E. D. Pa. 1981).

 More pointedly here, the Internal Revenue Code specifically provides that, at the

 Government’s request, a court may “appoint a receiver to enforce the lien, or, upon

 certification by the Secretary during the pendency of such proceedings that it is in the

 public interest, may appoint a receiver with all the powers of a receiver in equity.” I.R.C. §

 7403(d).

        The Government requests the appointment of a receiver and has provided the

 requisite proof of necessity. When a request is made for an appointment of a receiver

 under § 7403(d), the Government needs only to make a prima facie showing that a

 substantial tax liability probably exists and that the Government’s collection efforts may be

 jeopardized if a receiver is not appointed. See United States v. O'Connor, 291 F.2d 520,

 525 (2d Cir. 1961); Florida v. United States, 285 F.2d 596, 598 (8th Cir.1960). The

 appointment of a receiver is an especially appropriate remedy in cases involving fraud

 and the possible dissipation of assets since the primary consideration in determining

 whether to appoint a receiver is the necessity to protect, conserve and administer

 property pending final disposition of a suit. See, e.g., Consolidated Rail Corp. v. Fore

 River Ry. Co., 861 F.2d 322, 326–27 (1st Cir. 1988).

        Considering the history of this case, Mr. Wilhite’s underlying criminal offense, his

 substantial restitution obligations, and the Wilhites’ persistent attempts to conceal Mr.


 constitutes her personal debt, not AFC’s debt. Indeed, the Colorado Secretary of State confirms
 that Kubota is the only other entity with an outstanding lien on AFC. (Doc. # 182-1.)

                                                11
Case 1:00-cr-00504-CMA Document 198 Filed 03/14/18 USDC Colorado Page 12 of 12




 Wilhite’s involvement and ownership interest in AFC, the Court has no trouble concluding

 that the appointment of a receiver is appropriate. The Court therefore appoints Mr.

 Edward B. Cordes 6 to serve as the Receiver in this case.

                                      V.      CONCLUSION

        For the foregoing reasons, the Court ORDERS as follows:

        1. The Government’s Motion for Entry of Decree of Sale and to Appoint a

            Receiver to Enforce Lien is GRANTED. (Doc. # 168.)

        2. In conjunction with this Order, the Court has also issued its Decree of Sale and

            Appointment of Receiver to Enforce Lien. 7 (Doc. # 168-4.)

        3. In light of the provisions contained in the Decree of Sale and Appointment of

            Receiver to Enforce Lien, the prior injunction, ordered on December 7, 2016, is

            no longer necessary and is therefore DISSOLVED. (Doc. # 135.)

 DATED: March 14, 2018                             BY THE COURT:



                                                   CHRISTINE M. ARGUELLO
                                                   United States District Judge




 6
   Although the Wilhites object to the appointment of a receiver generally, they do not object to Mr.
 Cordes specifically serving as the receiver in this case, should the Court overrule their general
 objection.
 7
   Although the Wilhites generally object to the appointment of a receiver as being unnecessary
 and “contrary to the rights accorded the owner of an LLC membership interest,” (Doc. # 177 at 6,
 14), they do not lodge any specific challenges the processes, duties, or any other procedure that
 is outlined in the Government’s Proposed Order. Although the Wilhites state in passing in a
 footnote the need for an “appropriate bond,” they provide no legal support for that request and the
 Court declines to entertain it.

                                                 12
